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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 IN RE:                                                §
 GALLERIA 2425 OWNER, LLC                              §   Case No. 23-34815 (JPN)
                                                       §
 Debtor                                                §
                                                       §

                         NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW ALI CHOUDHRI, as principal for Debtor in the above-captioned matter,

and file this Notice of Appearance to add counsel and would respectfully show as follows:

                                                I.

       The following counsel represents ALI CHOUDHRI in an adversary matter styled: Adv.

Proc 24-03120 Ali Choudhri v. National Bank of Kuwait, S.A.K.P., New York Branch; In this

Honorable Court, and respectfully asks that he be added to all notices and pleadings in the above

bankruptcy matter:

                                         Jeffrey W. Steidley
                                        The Steidley Law Firm
                                       State Bar No.: 19126300
                                         Federal Bar No. 5609
                                     3701 Kirby Drive, Suite 1196
                                        Houston, Texas 77098
                                            jeff@texlaw.us
                                            (713) 523-9595
                                            (713) 523-9578

                                                 II.

       The now appearing counsel for Ali Choudhri as principal for Debtor should be served all

notices and pleadings filed in this case.
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       WHEREFORE, PREMISES CONSIDERED, ALI CHOUDHRI respectfully files this

Notice of Appearance and pray that their counsel be added to this cause.

                                                     Respectfully submitted,

                                                     THE STEIDLEY LAW FIRM

                                                     By Jeffrey W. Steidley
                                                     JEFFREY W. STEIDLEY
                                                     State Bar No. 19126300
                                                     Federal Bar No. 5609
                                                     jeff@texlaw.us
                                                     3701 Kirby Drive, Suite 1196
                                                     Houston, Texas 77098
                                                     (713) 523-9595 (telephone)
                                                     (713) 523-0578 (facsimile)

                                                     ATTORNEY FOR ALI CHOUDHRI



                                CERTIFICATE OF SERVICE

        I hereby certify a copy of the foregoing document was filed electronically on this the 10th
day of June, 2024. Notice of this filing will be sent to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court's ECF system.


                                             / s / Jeffrey W. Steidley
                                             Jeffrey W. Steidley
